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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 12-0695CCC
 1) JOSE M. CAPELLA-QUIÑONES
 2) GIOVANNI A. VARGAS-RAMIREZ
 3) SIGFREDO GONZALEZ-BLAS
 4) LUIS OQUENDO-SANTIAGO
 Defendants


                                            ORDER

       Having considered the Report and Recommendation filed on March 21, 2013 (docket
entry 56) on a Rule 11 proceeding of defendant José M. Capella-Quiñones (1) held before
U.S. Magistrate Judge Camille L. Vélez-Rivé on March 4, 2013, to which no objection has
been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since March 4, 2013. The sentencing hearing is set for June 5, 2013
at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on April 5, 2013.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
